Case 18-23851-A.]C Doc 33 Filed 02/04/19 Page 1 of 2

Fill in this information to identify your case:

 

Debror 1 Oscar i\/lesa

FlVSt N€llTlE MlUU|E N€llTlE L€lE`r[ N€llTlE

 

Debtor 2
(Spouse, if fillng) First Name Mldclle Name Lastl\lame

 

United States Bankruptcy Court for the: SOUthel'n DiStl'iCt 0f FlOl'ida

Case number 18-23851-)0\\]€ n CheCk if thiS iS an
m known amended filing

 

Officia| Form 108
Statement of intention for individuals Fi|ing Under Chapter 7 12/15

 

lf you are an individual filing under chapter 7, you must fill out this form if:
l creditors have claims secured by your property, or
l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

m List Your Creditors Who Have Secured Glaims

 

1. For any creditors that you listed in Part 1 of Schedul'e D: Creditor’s Who Have Clar'ms Secured by Property (Officia| Form 1060), fill in the
information below.

 

 

 

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor’s
name The Banl< of NeW Yorl< i\/le||on, as Trustee n Surrenderthe property n N°
_ _ m Retain the property and redeem it. M Yes
Dr:$c::t)tlon of 275 NE 18 Street: Apt- 1803: Miami F|- n Retain the property and enterinto a
§ecl;rin; debt 331 32 Reaffirrnation Agreernent.
n Retain the property and [exp|ain]: ____
Creditor’s
name 1300 BlScAYNE PLAZA coNDor\/ilNlur\/i, lnc. n Surrenderthe property n N°
_ _ m Retain the property and redeem it. w Yes
§;;°;'r§'°“ °f 275 NE 18 Street, Apt. 1803, Miami FL o retain the propertyand memo a
Securing debt 331 32 Reaffirrnation Agreernent.
n Retain the property and [exp|ain]: ____
Creditor’s _
name |ntema| Revenue Sewlce n Surrenderthe property. n No
m Retain the property and redeem it. w Yes
Er:;‘::_tj;wn Of A|| Rea| and personal Property Wlthln n Retain the property and enter into a
Securing debt Miami-Dade COLll’lty, FlOl'idEl Reaffirrnation Agreernent.
n Retain the property and [exp|ain]: ____
Creditor’s _
name internal Revenue Servloe n Surrenderthe property n N°
n n m Retain the property and redeem it. m Yes
Er::[;.:_tjjlon of A|| Rea| and perSOna| Prope['ty Wlthln n Retain the property and enter into 3
Securing debt l\/liarni-Dade County, Florida Reaffrmatr'on Agreemem_

n Retain the property and [exp|ain]: ____

 

Officia| Form 108 Statement oflntention for individuals Fi|ing Under Chapter 7 page 1

Case 18-23851-A.]C Doc 33 Filed 02/04/19 Page 2 of 2

Debt@m OSCa|' Mesa Case number (rr;<nowm 18'23851'AJC

 

 

t:lVStNElT|E hindth NElTlE LESI NEIT|E

m List Your Unexpired Personal Properl'.y Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpr'red Leases (Official Form 1066),
fill in the information below. Do not list real estate leases. Urrexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease ifthe trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wi|| the lease be assumed?

Lessor’s name: n NO
n Yes

Description of leased

property:

Lessor’s name: n NO

Description of leased n Yes

property:

Lessor’s name: n NO

Description of leased n Y€S

property:

Lessor’s name: n NO
n Yes

Description of leased

property:

Lessor’s name: n NO
n Yes

Description of leased

property:

Lessor’s name: n NO
n Yes

Description of leased

property:

Lessor’s name: n NO
n Yes

Description of leased
property:

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

 

 

x /s/ Oscar l\/lesa x
Signature of Debtor 1 Signature of Debtor 2
mate _OI“_/QLQ___ Dare_ _ ___
Ml\¢tl DD l YYYY Mlvll DD f YYYY

Ofncial Form 108 Statement oflntention for individuals Fi|ing Under Chapter 7 page 2

